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Attorneys for Plaintiff,
J ames Doherty

UNITED STATES DISTRICT COURT 4 ij §
NORTHERN DISTRICT OF CALIFORNIA

James Doherty, Case NO.: Q l 3 -_ 7 5 7§4?6§

Plaintiff, coMPLAINT F0R DAMAGES y
1. vIoLATIoN 0F FAIR DEBT
M dl d C d M l d CoLLECTION PRACTICES ACT,
1 an re lt a_nag@menf nc an 15 U.s.C. § 1692 ET. SEQ;
DOES 1 10 1n°1us1ve 2.V10LAT10N 0F FAIR DEBT
CoLLECTIoN PRATICES ACT,
D@f@ndanfs- CAL.CIV.CoDE § 1788 ET. SEQ.
3. VIOLATIGN 0F THE
TELEPHONE C<)NSUMER
PRQTECTI()N ACT, 47U.S.C. § 227,
ET.sEQ.

JURY TRIAL DEMANDED

VS.

 

 

 

COMPLAINT FOR DAMAGES

 

 

 

 

 

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For this Complaint, the Plaintiff, J ames Doherty, by undersigned counsel, states

as follows:
,!URISDICTI()N
1. This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”), violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”), and the
invasions of Plaintiff’s personal privacy by the Defendants and its agents in their
illegal efforts to collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to
this action occurred here.

PARTIES

4. The Plaintiff, J ames Doherty (hereafter “Plaintiff”), is an adult individual
residing in San Francisco, California, and is a “consurner” as the term is defined by 15
U.S.C. § 1692a(3), and is a “person” as defined by 47 U.S.C. § 153(10).

5.` Defendant Midland Credit Management, Inc. (“Midland”), is a California
business entity With an address of 8875 Aero Drive, Suite 200, San Diego, California,
92123, operating as a collection agency, and is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6), and is a “person” as defined by 47 U.S.,C. § 153(10).

 

2 COMPLAINT FOR DAMAGES

 

 

 

 

 

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6. Does 1-10 (the “Collectors”) are individual collectors employed by
Midland and Whose identities are currently unknown to the Plaintiff. One or more of
the Collectors may be joined as parties once their identities are disclosed through
discovery.

7. Midland at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE T() ALL COUNTS
A. The Debt
8. The Plaintiff allegedly incurred a financial obligation (the “Debt”) to T-

Mobile (the “Creditor”).

9. The Debt arose from services provided by the Creditor Which Were
primarily for family, personal or household purposes and vvhich meets the definition
of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt was purchased, assigned or transferred to Midland for
collection, or Midland Was employed by the Creditor to collect the Debt.

11. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 169221(2).

B. Midland Eng§ges in Harassment and Abusive Tactics
12. Within the last year, Midland contacted Plaintiff in an attempt to collect

the Debt.

 

3 COMPLAINT FOR DAMAGES

 

 

 

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13. During the initial conversation and during each conversation thereafter,
Plaintiff advised Midland that he disputed the Debt and requested something in
writing from Midland.

14. During several conversations, Plaintiff attempted to explain to
Defendants that he disputed the validity of the Debt and that he had already disputed
the Debt with the Creditor and all three credit bureaus.

15. While attempting to discuss his dispute, Midland would sometimes place
Plaintiff on hold for several minutes, and then transfer him to a non-working
extension Other times, Defendants would terminate the call when Plaintiff requested
to speak with a supervisor regarding his dispute.

16. Plaintiff asked for Midland to provide him something in writing
regarding the Debt. Midland responded by telling Plaintiff that it was not required to
send him anything in writing

17. Plaintiff repeatedly requested that Midland cease all communications
with him and unambiguously stated a complete unwillingness to pay Midland.

18. Despite his requests to cease communications with Plaintiff, Midland
continued to contact Plaintiff, knowing that its calls would not result in the payment of
the Debt.

19. Midland contacted at an excessive and harassing rate, sometimes calling

Plaintiff five times a day on a daily basis.

 

4 COl\/IPLAINT FOR DAMAGES

 

 

 

 

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20. Midland did not send Plaintiff a letter within five days of its initial
contact with him as required by law.
COUNT I

VIOLATIONS OF THE FAIR DEBT C()LLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

21. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

22. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § 1692d.

23. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § 1692d(5).

24. The Defendants used false, deceptive, or misleading representation or
means in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.

25. The Defendants failed to send Plaintiff an initial letter within five days of
its initial contact with Plaintiff as required by law, in violation of 15 U.S.C. §
l692g(a).

26. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited

provisions.

 

5 COMPLAINT FOR DAMAGES

 

 

 

 

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27. The Plaintiff is entitled to damages as a result of the Defendants’
violations.
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VIOLATION OF THE R()SENTHAL FAIR DEBT C()LLECTION
PRACTICES ACT, Cal. Civ. Code § 1788 et seq.

28. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

29. The Rosenthal Fair Debt Collection Practices Act, California Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

30. Midland Credit Management, Inc., in the regular course of business,
engages in debt collection and is a “debt collector” as defined by Cal. Civ. Code §
1788.2(0).,

31. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § 1788.11(d).

32. The Defendants communicated with the Plaintiff with such frequency as
to be considered harassment, in violation of Cal. Civ. Code § 1788.11(e).

33. The Defendants failed to comply with the provisions of 15 U.S.C. §

1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).

 

6 COMPLAINT FOR DAMAGES

 

 

 

 

 

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34. The Defendants did not comply with the provisions of Title 15, Section
1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.
35. The Plaintiff is entitled to damages as a result of the Defendants’
violations.
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VIOLATI()NS OF THE TELEPHONE C()NSUMER PROTECTION ACT -
47 U.S.C. § 227, et seq.

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36. Plaintiff incorporates by reference all of the above paragraphs of this

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Complaint as though fully stated herein.

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37. At all times mentioned herein and within the last four years, Midland

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contacted Plaintiff on his cellular telephone using an automated telephone dialing

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system (“ATDS”) and/or by using artificial or pre-recorded messages in violation 47

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U.S.C. § 227(b)(1)(A)(iii).

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38. Often times when Plaintiff answered the calls from Midland, Plaintiff

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was met with dead air and there was not a live person with whom Plaintiff could

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speak. Other times, after a long period of dead air, a live representative became

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39. The telephone number called by Defendant was assigned to a cellular

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telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47

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U.S.C. § 227(b)(1)°

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7 COMPLAINT FOR DAMAGES>

 

 

 

 

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40. Plaintiff never provided his cellular telephone number to Midland and
never provided his consent to be contacted on his cellular telephone.

41. Plaintiff never provided his cellular telephone number to the Creditor and
never provided his consent to the Creditor to be contacted on his cellular telephone.

42. If Midland at one time had prior express consent to place calls to
Plaintiff’s cellular telephone number, it no longer had consent to call Plaintiff after
being repeatedly instructed by Plaintiff to cease all calls to him.

43. The calls from Defendant to Plaintiff were not placed for “emergency
purposes” as defined by 47 U.S.C. § 227(b)(l)(A)(i).

44. Each of the aforementioned calls made by Defendant constitutes a
negligent or intentional violation of the TCPA, including each of the aforementioned
provisions of 47 U.S.C. § 227, et. seq.

45. As a result of each of Defendant’s negligent violations of the TCPA,
Plaintiff is entitled to an award of $500.00 in statutory damages for each call in
violation of the TCPA pursuant to 47 U.S.C., § 227(b)(3)(B).

46. As a result of each of Defendant’s knowing and/or willful violations of
the TCPA, Plaintiff is entitled to an award of treble damages in an amount up to
$1,500.00 for each and every violation of the TCPA pursuant to 47 U.S.C. §

227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

 

8 COMPLAINT FOR DAMAGES

 

 

 

 

 

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Defendants;

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PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against the

. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

Defendants;

. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against the Defendants;

. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

§ 1692k(a)(3) against the Defendants;

. Actual’ damages pursuant to Cal. Civ. Code § 1788.30(a);

., Statutory damages of $1,000.00 for knowingly and willfully committing

violations pursuant to Cal. Civ. Code § 1788,30(b);

. Statutory and/or treble damages pursuant to 47 U.S.C. § 227(b)(3)(B) &

(C);

. Actual damages from the Defendants for the all damages including

emotional distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, reckless, and/or negligent
invasions of privacy in an amount to be determined at trial for the

Plaintiff;

H. Punitive damages; and

 

 

 

9 COMPLAINT FOR DAMAGES

 

 

 

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I. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL C()UNTS

 

DATED: February 15, 2013 TAMMY HUSSIN

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By: /s/ Tammy Hussin

Tarnmy Hussin, Esq.

Lemberg & Associates

Attorney for Plaintiff 1 ames Doherty

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10 COMPLAINT FOR DAMAGES

 

 

 

 

